                Case 4:02-cr-40078-JPG                     Document 856 Filed 10/04/05                    Page 1 of 7       Page ID
QAO 2458        (Rev. 12/03) Judgment in a Criminal Case
                                                                     #1168
                Sheet 1




                                                SOUTHERN          District of      ILLINOIS
W E D STATES OF AMERICA                                                  JUDGMENT IN A CRIMINAL CASE
v.
ADAM HOLSEY
                                                                         Case Number:                      4:02CR40078-032-JPG

                                                                         USM Number:                       42503-01 8

                                                                         R. Henw Branom, Jr.
                                                                         Defendant's Attorney
THE DEFENDANT:
! pleaded guilty to count(s)
-
X                              1 of the Fourth Superseding Indictment.
0 pleaded nolo contendere to count(s)
-
                                                                                                                   -    -

     which was accepted by the court.
- was found guilty on count(s)                                                                                               W
     after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                    Nature of Offense                                                       Offense Ended             Count
21 U.S.C. 846                      Conspiracy to Manufacture 500 Grams or More of                          1212002           lssss
                                   Methamphetamine.




       The defendant is sentenced as provided in pages 2 through
the Sentencing Reform Act of 1984.
                                                                            7           of this judgment. The sentence is imposed pursuant to

0 The defendant has been found not guilty on count(s)
-
0 Count(s)
-                                                          -
                                                           0 is   1 are dismissed on the motion of the United States.
         It 1s ordered +at the defendant must notify the United Statcs attorney for h s distr~ctwithin 3O da of any change of name, rcslden
or mail~ngaddress unnl all fines, restlhltion,,costs,and spec~alassessments imposed by th~sjudgmentarc tuGpald. Iforderedto pay restltutlo
the defendant must noufy the coun and Un~tedStates attorney of material changes in cconormc clrsumstances.

                                                                         09/20/2005
                                                                         Date of Imposition of Judgment
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                                                                      #1169
A 0 2458       (Rev. 12/03) Judgment in Criminal Case
               Sheet 2 Imprisonment

                                                                                                        Judgment - Page
DEFENDANT:                        ADAM HOLSEY
CASE NUMBER:                      4:02CR40078-032-JPG


                                                                 IMPRISONMENT
        The defendant is hereby committed to the custody of the United States Bureau of Prisons to he imprisoned for a
total term of      120 months on Count 1 of the Fourth Superseding Indictment




    0 The court makes the following recommendations to the Bureau of Prisons:
    -




    - The defendant is remanded to the custody of the United States Marshal

    0 The defendant shall surrender to the United States Marshal for this district:
    -
        -
        0        at                                     - a.m.      g p.m.       on
           0
           -     as notified by the United States Marshal.

    0 The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
    -

        -
        0        before 2 p.m. on

        -
        0        as notified by the United States Marshal.
        0
        -        as notified by the Probation or Pretrial Services Office.


                                                                       RETURN
I have executed this judgment as follows:




        Defendant delivered on                                                                to

a                                                         , with a certified copy of this judgment.



                                                                                                      UNITED STATES MARSHAL


                                                                               BY
                                                                                    DEPUTY UNITED STATES MARSHAL
            Case 4:02-cr-40078-JPG                    Document 856 Filed 10/04/05   Page 3 of 7      Page ID
                                                                #1170
A 0 2458   (Rev. 12103) Judgment in a Criminal Case
           Sheet ZA - Imprisonment
                                                                                     Judgment-Page   3
DEFENDANT:                ADAM HOLSEY
CASE NUMBER:              4:02CR40078-032-JPG

                                           ADDITIONAL IMPRISONMENT TERMS
                  Case 4:02-cr-40078-JPG                 Document 856 Filed 10/04/05                      Page 4 of 7          Page ID
                                                                   #1171
A 0 2458      (Rev. 12/03) Judgment in a Criminal Case
              Sheet 3 - Supervlred Release
                                                                                                           Judgment-Page   4
DEFENDANT:                     ADAM HOLSEY
CASE NUMBER:                   4:02CR40078-032-JPG
                                                         SUPERVISED RELEASE
 Upon release from imprisonment, the defendant shall he on s u p e ~ s e drelease for a term of:        5 years

 5 years on Count 1 of the Fourth Superseding Indictment.


      The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from th
 custody of the Bureau of Pnsons.
 The defendant shall not commit another federal, state or local crime
 The defendant sball not unlawfully possess a controlled s*stance. The defendant shall refrain from any unlawful use of a controlled
 substance. The defendant shall submit to one drug test mtlnn 15 days of release from imprisonment and at least two periodic drug tests
 thereafter, as determined by the court.
        The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
        future substance abuse. (Check, if applicahle.)
        The defendant shall not possess a fuearm, destructive device, or any other dangerous weapon. (Check, if applicahle.)
        The defeudant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicahle.)
        The defeudant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
        student, as directed by the probation officer. (Check, if applicahle.)
        The defendant shall participate in an approved program for domestic violence. (Check, if applicahle.)
     If this 'udgment imposes a fme or restitution, it is a condition of supervised release that the defendant pay in accordance with the
 Schedule ofl~aynentssheet of this judgment.
      The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional condition
 on the attached page.

                                           STANDARD CONDITIONS OF SUPERVISION
   1)      the defendant shall not leave the judicial district without the permission of the court or probation officer;
   2)      the defendant shall report to the probation officer and shall submit a truthful and complete written report within the fust five days
           each month,
   3)      the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
   4)      the defendant shall support his or her dependents and meet other family responsibilities;
   5)      the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or 0th
           acceptable reasons;
   6)      the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
   7)      the dcfcndant shall refram from exccss~veuse of alcohol and shall not purchase, possess, use, dtmbutc, or adnnmstcr any
           controlled substance or any paraphemaha related to any controlled substances, except d, prcscr~bedby a phys~c~an,
   8)      the defendant shall not frequent places where controlled substances are illegally so14 used, distributed, or administered;
   9)      the defendant shall not associate with any ersons en aged in criminal activity and shall not associate with any person convicted of
           felony, unless granted permission to do sogy the pro%ationofficer;
  10)      the defendant shall p e m t a probation officer to visit him or her at any time at home or elsewhere and shall pennit confiscation of an
           contraband observed m plain view of the probation officer;
  11)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement office
  12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without th
           permission of the court; and
  13)      as directed by the robatlon oilicer, the defenllant shall notlfy h r d parttes of nsks that may be occas~onedby the defendant's cnnun
           record or prsonay h~storyor charactenbti~sand shall permit the probation ofliccr to make such notificat~onsand to confum th
           defendant s compl~anccwth such not~ficat~on     requlrcmcnt.
             Case 4:02-cr-40078-JPG                   Document 856 Filed 10/04/05          Page 5 of 7       Page ID
                                                                #1172
A 0 245B   (Rev. 12/03) Judgment in a Criminal Case
           Sheet 3C - Sunervlsed Release
                                                                                            Judgment-Page   5
DEFENDANT:                ADAM HOLSEY
CASE NUMTjER:             4:02CR40078-032-JPG

                                         SPECIAL CONDITIONS OF SUPERVISION
                                  ?                                    r
      The defendant shall pa any financial penalty that is imposed b this jud ent and that remains unpaid at the
commencement of the t m o supervised release. The defendant shal pay the g e in installments of $10.00 per month or te
percent of his net monthly income, whichever is greater.
  The defendant shall provide the probation officer and the Financial Litigation Unit of the United States Attorney's Office
with access to any r e y t e d finqcial,information. The defendant is advlsed that the probation office may share financial
information with the manc~alLlhgatlon Unit.
  The defendant shall appl all monies received from income tax refunds, lottery winnings, judgments and/or any other
antiripad or unexpected &ancia1            pin,
                                          to the outstanding court-ordmd financial obligation. The defendant shall
immediately notify the probation of lcer of the receipt of any indicated monies.
  The defendant shall articipate as directed and approved by the probation officer in treatment for narcotic addiction, drug
                         P
dependence, or alcoho dependence, which includes urinalysis or other drug detection measures and which may require
residence and/or partici ation in a residential treatment facility. Any participation will require complete abstinence from all
alcoholic beverages. Tl! e defendant shall pay for the costs associated with substance abuse counseling and/or testing based
on a co-pay sliding fee scale approved by the United States Probation Office. Co-pay shall never exceed the total costs of
counselmg.
  The defendant shall partici ate in a program of mental health treatment, as directed by the probation officer, until such tim
as the defendant is released i! om the program by the probation officer.
  The defendant shall submit his person, residence, real property, place of business, computer or vehicle to a search,
conducted b the United States Probation Officers at a reasonable time and in a reasonable manner, based upon reasonable
           2
suspicion o contraband or evidence of a violation of a condition of supervision. Failure to submit to a search may be
grounds for revocation. The defendant shall inform any other residents that the premises may be subject to a search pursuan
to this condition.
              Case 4:02-cr-40078-JPG                       Document 856 Filed 10/04/05                   Page 6 of 7     Page ID
                                                                     #1173
A 0 2458   (Rev. 12/03) Judgment in a Criminal Case
           Sheet 5 -Criminal Monetary Penalties
                                                                                                     Judgment - Page 6
 DEFENDANT:                        ADAM HOLSEY
 CASE NUMBER:                      4:02CR40078-032-JF'G
                                               CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6

                      Assessment                                        -
                                                                        Fine                               Restitution
 TOTALS            $ 100.00                                          $ 200.00                            $ 0



 0 The determination of restitution is deferred until -
 -                                                     . An Amended Judgment in a Criminal Case (A0 245C) will he enter
      after such determination.

 0 The defendant must make restitution (including community restitution) to the following payees in the amount listed below
 -
     If the defendant makes a partial payment, each pa ee shall receive an approximately ro ortioned ayment, unless specified otherwise
     the priority order or percentage payment columnxelow. However, pursuant to 18 Qs.8. 3 36640, all nonfederal victim must be p
     before the United States is paid.

 Name of Pavee                               Total Loss*                      Restitution Ordered                 Prioritv or Percentape




 TOTALS                              $                                      $


 -    Restitution amount ordered pursuant to plea agreement $

 -
 0    The defendant must pay interest on restitution and a fme of more than $2,500, unless the restitution or fme is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. 3 3612(f). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. 8 3612(g).

 -    The court determined that the defendant does not have the ability to pay interest and it is ordered that:

      - the interest requirement is waived for the                fme     1restitution.
      - the interest requirement for the              -   fine   - restitution is modified as follows:

 * Findings for the total amount of losses are required under Chapters 109A, 110,l IOA, and 113A of Title 18 for offenses committed on or aft
 September 13, 1994, but before April 23,1996.
               Case 4:02-cr-40078-JPG                    Document 856 Filed 10/04/05                    Page 7 of 7          Page ID
A 0 2458   (Rev. 12103) Judgment in a Criminal Case                #1174
           Sheet 6 -Schedule of Payments
                                                                                                        Judgment - Page 7
 DEFENDANT:                 ADAM HOLSEY
 CASE NUMBER:               4:02CR40078-032-JPG

                                                       SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay, payment of the total criminal m o n e t q penalties are due as follows:

 A         Lump sumpayment of $                              due immediately, balance due

           0
           -     not later than                                  , or
           0
           -     in accordance           -    C,      o D,   g     E, or         F below; or

 B    o    Payment to begin immediately (may be combined with              1C,       -
                                                                                     0 D, or     1F below); or
 C    o    Payment inequal                    (e.g., weekly, monthly, quarterly) installments of $                       over a period of
                       (e.g., months or years), to commence                 (e.g., 30 or 60 days) after the date of this judgment; or

 D    o Payment in equal                       (e.g., weekly, monthly, quarterly) installments of $                     over a period of
                        (e.g., months or years), to commence                 (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

 E    o    Payments are due immediately, through the Clerk of the Court, but may be paid from prison earnings in compliance with the
           Inmate Financial Responsibility Program. Any Financial penalties that remain unpaid at the commencement of the term of
           supervised release shall be paid at the rate of $             per month,       % of defendants monthly gross earnings,
           whichever is greater.

 F    I Special instructions regarding the payment of criminal monetary penalties:
           While on supervised release, the defendant shall make monthly in the amount of $10.00 or ten percent of his net monthly incom
           whichever is greater.




Unless the court bas express1 ordered otherwise, if this judgment imposes imprisonment, a ent of criminal monetary penalties is due duin
impriso-ent.     All cnminaYmoneta penahes, except those payments made throw& c ~ e d e r a Bureau  l      of Pnsons' Inmate Financi
Responsib~lityP r o g r q are made to %e clerk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal mane-          penalties imposed.




 -
 D    Joint and Several
      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




0
-     The defendant shall pay the cost of prosecution.
-
0     The defendant shall pay the following court cost(s):
0
-     The defendant shall forfeit the defendant's interest in the following property to the United States:



Payments shall be applied in the following order: (1 assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
                                                        1.
(5) tine interest, (6) community restitution, (7) pena hes, and (8) costs, including cost of prosecution and court costs.
